Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 1 of 28 Page ID #:1




  1
      CONSUMER WATCHDOG
  2   Harvey Rosenfield (SBN: 123082)
      Jerry Flanagan (SBN: 271272)
  3
      2701 Ocean Park Blvd., Suite 112
  4   Santa Monica, CA 90405
      Tel: (310) 392-0522
  5
      Fax: (310) 392-8874
  6   harvey@consumerwatchdog.org
  7   jerry@consumerwatchdog.org

  8   [Additional Counsel on Signature Page]
  9   Attorneys for Plaintiffs and the Classes
 10
                          UNITED STATES DISTRICT COURT
 11
                        CENTRAL DISTRICT OF CALIFORNIA
 12
 13 GORDON AND MARY FELLER, and                  Case No.
 14 GEORGE     AND MARGARET
    ZACHARIA, on behalf of themselves
 15 and all others similarly situated,           CLASS ACTION COMPLAINT
                                                 DEMAND FOR JURY TRIAL
 16                Plaintiffs,
                                                 1.   Breach of Contract
 17         vs.                                  2.   Breach of the Implied Covenant
                                                      of Good Faith and Fair Dealing
 18 TRANSAMERICA  LIFE
    INSURANCE COMPANY,
                                                 3.   Breach of Duty of Good Faith
                                                      and Fair Dealing
 19                                              4.   Injunctive and Restitutionary
            Defendant.                                Relief pursuant to Cal. Bus. &
 20                                                   Prof. Code §17200, et seq.
                                                 5.   Declaratory Relief
 21                                              6.   Preliminary and Permanent
                                                      Injunctive Relief
 22                                              7.   Elder Abuse pursuant to Cal.
                                                      Wel. & Inst. Code §15657.5, et
 23                                                   seq.

 24
 25
 26
 27
 28
                                 CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 2 of 28 Page ID #:2




   1        Plaintiffs, by and through the undersigned attorneys, bring this action on
   2 behalf of themselves and all others similarly situated against Defendant
   3 Transamerica Life Insurance Company. Plaintiffs allege the following on
   4 information and belief, except as to those allegations that pertain to the named
   5 Plaintiffs, which are alleged on personal knowledge.
   6                               NATURE OF THE ACTION
   7        1.     In the late 1980s and early 1990s, Transamerica sold universal life
   8 insurance policies under which it agreed to credit interest on policyholders’
   9 accounts at a guaranteed rate of no less than 5.5% annually and similar policies
  10 with other guaranteed rates. Plaintiffs bought such policies so that they and their
  11 families would be protected as they entered their senior years. Yet Transamerica
  12 in August 2015 suddenly, unilaterally and massively increased the monthly
  13 deductions withdrawn from Plaintiffs’ accumulation accounts by 38%, falsely
  14 stating that the increase was permitted by the terms of their policies. However,
  15 Transamerica’s true reasons for the premium increase were to subsidize its cost of
  16 meeting its interest guarantee, to recoup past losses on the policies and on its
  17 investment portfolio, and to make the policies more profitable by inducing policy
  18 terminations by those policyholders who could not afford the increase.
  19        2.     Plaintiffs in this action seek damages and equitable relief to reverse
  20 Transamerica’s massive increase in the monthly deduction withdrawn from their
  21 accounts each month, which has injured Plaintiffs and which, if allowed to
  22 proceed, will cause irreparable injury to Plaintiffs and other members of the
  23 putative Classes (collectively, the “Class Members”). As further described below,
  24 Transamerica’s sudden and unilateral increase in the premiums required to keep
  25 these policies in force constitutes a breach of its express and implied obligations
  26 under the policies, a violation of the unlawful and unfair prongs of California’s
  27 Unfair Competition Law (“UCL”), and a violation of California’s Elder Abuse
  28 Statutes.
                                              1
                                CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 3 of 28 Page ID #:3




   1                                   THE PARTIES
   2         3.    Plaintiffs Gordon Feller and Mary Feller (collectively, “Feller”) are
   3 husband and wife, and at all times herein mentioned, were citizens of the State of
   4 California. On or about September 13, 1989, Transamerica Occidental Life
   5 Insurance Company from its Los Angeles office issued to Feller an adjustable
   6 universal life insurance policy (Policy No. 9229114) with a face amount of
   7 $500,000.
   8         4.    Plaintiffs George N. Zacharia and Margaret Zacharia (collectively,
   9 “Zacharia”) are husband and wife, and at all times herein mentioned were citizens
  10 of the State of California.     On or about December 20, 1990, Transamerica
  11 Occidental Life Insurance Company from its Los Angeles office issued an
  12 adjustable universal life insurance policy (Policy No. 92332828) with a face
  13 amount of $250,000, which was subsequently transferred into a revocable inter
  14 vivos trust over which Zacharia, as the settlor, holds the power to revoke. Zacharia
  15 retains full ownership and control over the policy under California law.
  16         5.    Defendant Transamerica Life Insurance Company (“TLIC”) is a
  17 corporation organized under Iowa law, with its principal place of business at 4333
  18 Edgewood Road NE, Cedar Rapids, Iowa, 52499. TLIC is thus a citizen of Iowa.
  19         6.    Transamerica Occidental Life Insurance Company (“TOLIC”) was in
  20 1989 and 1990 a corporation organized under California law, with its Home
  21 Office and principal place of business at 1150 S. Olive Street, Los Angeles,
  22 California, 90015.
  23         7.    On or about October 1, 2008, TOLIC was merged into TLIC, making
  24 TLIC its successor-in-interest. TOLIC and TLIC are herein collectively referred to
  25 as “Transamerica.”
  26                          JURISDICTION AND VENUE
  27         8.    This Court has jurisdiction over the parties to this action. The four
  28 named Plaintiffs are residents of California, Transamerica transacts business in
                                               2
                                CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 4 of 28 Page ID #:4




   1 California, and many thousands of the Class Members are resident citizens of
   2 California.
   3         9.    Jurisdiction over Transamerica is also proper because it has
   4 purposely availed itself of the privilege of conducting business activities in
   5 California and because it currently maintains systematic and continuous business
   6 contacts with this State.
   7         10.   Venue is proper in this District under 28 U.S.C. § 1391 because
   8 Transamerica maintains substantial operations in this District; many thousands of
   9 Class Members either reside or did business with Transamerica in this District;
  10 Transamerica engaged in business in this District; a substantial part of the events
  11 or omissions giving rise to the claims at issue occurred in this District; and
  12 Transamerica entered into transactions and received substantial profits from
  13 policyholders who reside in this District.
  14         11.   This Court has subject matter jurisdiction based on diversity of
  15 citizenship. Plaintiffs allege subject matter jurisdiction based on the Class Action
  16 Fairness Act, 28 U.S.C. §1332(d).
  17                              FACTUAL ALLEGATIONS
  18                             The Standardized Policy Terms
  19         12.   Plaintiffs bring this class action on behalf of themselves and other
  20 owners and former owners of certain universal life insurance policies issued and
  21 administered by Transamerica (the “Policies”).1 The Policies use standardized,
  22 materially uniform language with respect to the policy provisions at issue in this
  23 action.
  24
       1
  25   The Policies include the so-called “TransMax” policies issued to Plaintiffs, as
     well as all other policies issued by Transamerica that share comparable terms and
  26 for which Transamerica has unilaterally increased monthly deductions since
  27 August 1, 2015. A specimen copy of the standardized Policy contract, as issued to
     Zacharia, is attached as Exhibit “A.”
  28
                                                  3
                                  CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 5 of 28 Page ID #:5




   1         13.   Under the uniform provisions of the Policies, an “accumulation
   2 account” is established for each Policy, into which the Policyholder’s premium
   3 payment(s) are deposited. The accumulation account earns interest at a guaranteed
   4 interest rate specified in the Policy. Certain of the        Policies provide that
   5 Transamerica will pay guaranteed interest at the rate of 4%, and that the
   6 accumulation value on any policy anniversary will never be less than as if 5.5%
   7 interest was credited annually from the issue date. Others contain similar interest
   8 rate guarantees.
   9         14.   At the end of each policy month, Transamerica withdraws an amount
  10 (“Monthly Deduction”) from the Policy’s accumulation account. The Monthly
  11 Deduction is equal to the following: (a) the application of a “Monthly Deduction
  12 Rate” to the difference between the death benefit and the accumulation value at
  13 the beginning of the year; and (b) the monthly deduction for any policy riders; and
  14 (c) a policy fee.
  15         15.   The Monthly Deduction Rate is by far the most important component
  16 of the Monthly Deduction charge. Even small changes in the Monthly Deduction
  17 Rate can produce a dramatic increase in the dollar amount of the Monthly
  18 Deduction charged by Transamerica. The higher the Monthly Deduction Rate, the
  19 greater the premiums required to maintain a positive balance in the accumulation
  20 account and avoid a lapse of the Policy.
  21         16.   Under the Policies, Transamerica determines the Monthly Deduction
  22 Rates for each policy year at the beginning of that policy year, using the insured’s
  23 age as of that policy year. The guaranteed Monthly Deduction Rate for non-
  24 smokers is premised on a “cost of insurance” (“COI”) portion or component,
  25 which is in turn based on projections of life span established by the 1980 CSO
  26 Mortality Tables.     The guaranteed Monthly Deduction Rate for smokers is
  27 premised on the same COI rates, plus an added “expense” portion or component.
  28         17.   Under the Policies, Transamerica’s discretion to set or increase the
                                                4
                                CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 6 of 28 Page ID #:6




   1 Monthly Deduction Rates is therefore constrained by the Tables of Guaranteed
   2 Monthly Deduction Rates and the attained age of the insured under the Policy.
   3         18.      Furthermore, the Policies do not expressly authorize Transamerica to
   4 do any of the following:
   5          Set or increase the Monthly Deduction Rates in whatever amount or by
   6               whatever method it determines;
   7          Set or increase Monthly Deduction Rates to recoup past losses on the
   8               Policies due to the failure of credited interest, policy lapse rates or other
   9               assumptions Transamerica made when originally pricing the Policies;
  10          Set or increase Monthly Deduction Rates to recoup losses on the Policies
  11               due to diminished returns on Transamerica’s general investment
  12               portfolio; and
  13          Set or increase Monthly Deduction Rates in order to negate or offset
  14               Transamerica’s obligation to pay credited interest to the Policies at the
  15               minimum guaranteed rates.
  16         19.      Moreover, a reasonable Policyholder would construe the standardized
  17 Policy language to mean that the Monthly Deduction Rate, premised as it is on the
  18 purported “cost of insurance” based on the 1980 CSO Mortality Tables, would not
  19 change except for an adverse change in the underlying mortality rates. As
  20 reflected in every subsequent version of the CSO Mortality Tables, mortality rates
  21 have only improved in the years since the Policies were issued from 1987 and
  22 1998.
  23         20.      In addition, a reasonable Policyholder would construe (a) the
  24 Policies’ provisions governing the payment of interest on the accumulation
  25 account (subject to their unique and specific guarantees under the Policy), and (b)
  26 the    Policies’ provisions        governing       the Monthly Deduction       based    on
  27 Transamerica’s COI (subject to their unique and specific guarantees under the
  28 Policies), as operating independently of one another, precluding Transamerica
                                                    5
                                    CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 7 of 28 Page ID #:7




   1 from offsetting or subsidizing its credited interest obligations with increases in the
   2 Monthly Deduction Rate.
   3         21.    In the alternative, the Policies are at a minimum ambiguous with
   4 respect to whether Transamerica can increase the Monthly Deduction for any
   5 reason other than an adverse change in mortality rates. As a result, any ambiguity
   6 in this respect must be construed against Transamerica and in favor of the
   7 Policyholder.
   8
                   Transamerica Has Consistently Represented Unchanged
   9                    Current Expectations Regarding Future COI
  10         22.    The Monthly Deduction Rate, which Transamerica set at a level less
  11 than the Guaranteed Monthly Deduction Rate, is considered a “nonguaranteed
  12 element” of the Policy. Insurance companies and their actuaries are required to
  13 file with their state regulators answers to interrogatories every year as to whether
  14 their “anticipated experience factors underlying any nonguaranteed elements [are]
  15 different from current experience.”
  16         23.    In Transamerica’s Statement of Nonguaranteed Elements, as of
  17 December 31, 2014, Transamerica expressed no indication of any need to increase
  18 the Monthly Deduction Rates due to any adverse change in mortality rates. (See
  19 Exhibit “B”.)
  20         24.    Indeed, for each year of the past four years, Transamerica
  21 consistently reported to regulators that the anticipated experience factors
  22 underlying its nonguaranteed elements were no different than from current
  23 experience. (See Statement of Nonguaranteed Elements as of December 31, 2013
  24 (attached as Exhibit “C”); Statement of Nonguaranteed Elements as of December
  25 31, 2012 (attached as Exhibit “D”); Statement of Nonguaranteed Elements as of
  26 December 31, 2011 (attached as Exhibit “E”).)
  27         25.    Moreover, for each of the past five years, Transamerica has engaged
  28 in a series of captive reinsurance transactions premised on representations to
                                                6
                                 CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 8 of 28 Page ID #:8




   1 regulators and the public that it has retained reserves that are more than sufficient
   2 to cover its liabilities, including future COI. Through such “shadow insurance”
   3 transactions, Transamerica has purported to transfer the risks associated with the
   4 Policies to its wholly owned captive reinsurance affiliate, thereby claiming a
   5 “reserve credit” or release of the purportedly redundant reserves into its reported
   6 surplus, which it then used to pay dividends to its parent company.
   7         26.     For example, in 2010, Transamerica reported that it had taken reserve
   8 credits as a result of reinsurance transactions with affiliated reinsurance
   9 companies totalling approximately $30 billion, based on representations that
  10 Transamerica had made ample provision to cover the liabilities relating to those
  11 policies, including the future COI associated with its universal life policies.
  12 During 2010, Transamerica and other affiliated insurance operating companies up-
  13 streamed dividends to their ultimate parent holding company, AEGON NV,
  14 totalling $2.3 billion.
  15               Transamerica’s Massive Monthly Deduction Rate Increase
  16         27.     On June 8, 2015, Transamerica suddenly announced that it was going
  17 to unilaterally increase the Monthly Deduction under the Policies, based on a
  18 massive increase in the Monthly Deduction Rate (“the MD Rate Increase”).
  19         28.     Transamerica notified the Policyholders of the MD Rate Increase
  20 through a form letter. (See Exhibits “F” & “G”.) In that notice letter Transamerica
  21 purported to explain “What’s Changing and Why.” To give the appearance that it
  22 was acting on the limited grounds authorized by the Policies, Transamerica
  23 represented that it was increasing the Monthly Deduction Rates “based on our
  24 current expectations regarding future costs of providing … coverage [for the
  25 Policies].”
  26         29.     Transamerica thus acknowledged the limited grounds upon which the
  27 Policies permit a MD Rate Increase, and accordingly represented that the MD
  28 Rate Increase was premised on an adverse change in the COI portion of the
                                                7
                                  CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 9 of 28 Page ID #:9




   1 Monthly Deduction Rate.
   2         30.   Transamerica did not give any other explanation for the MD Rate
   3 Increase in the notice letter, and certainly did not suggest that it had the unfettered
   4 discretion to increase the Monthly Deduction Rate in whatever amount or by
   5 whatever method it determined.
   6         31.   Transamerica began imposing the MD Rate Increase on Policies with
   7 an anniversary date of August 1, 2015, at levels of nearly 40% or more.
   8         32.   Pursuant to the MD Rate Increase, Transamerica increased the
   9 amount taken from Plaintiffs’ accumulation accounts upon their respective
  10 Policy’s anniversary dates. For example, beginning September 13, 2015, the
  11 Fellers suffered an approximately 38% increase in their Monthly Deduction Rates,
  12 raising the Monthly Deduction from approximately $1,500 to more than $2,000 in
  13 order to maintain the same death benefit for their Policy. The Zacharias similarly
  14 suffered an approximately 38% increase in the Monthly Deduction that
  15 Transamerica took from their accumulation account beginning December 20,
  16 2015, after the Zacharias reached their 65th birthday.
  17         33.   Plaintiffs and Class Members are now required to pay much higher
  18 Monthly Deductions to maintain the same level of coverage under the Policies,
  19 such that their Policies will become cost-prohibitive if the MD Rate Increase is
  20 not enjoined. Unless stopped, Transamerica will induce, through its unlawful MD
  21 Rate Increase, widespread terminations – known as “shock lapses” – on Policies
  22 for which Plaintiffs and Class Members have duly paid the Monthly Deduction for
  23 decades.
  24                    The True Reasons for the MD Rate Increase
  25         34.   The sudden and dramatic MD Rate Increase is not in truth based on
  26 adverse changes in the “cost of providing coverage” as Transamerica represented
  27 in the notice letter to the Policyholders, but rather on Transamerica’s desire to
  28 avoid its contractual obligation to meet the high interest crediting rates it promised
                                                8
                                 CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 10 of 28 Page ID #:10




    1 under the Policies.
    2        35.    As explained above, insurance company actuaries are required to
    3 closely monitor and report on cost of insurance trends affecting non-guaranteed
    4 elements of its insurance policies.       Material deviations between current and
    5 expected future expectations as to COI do not occur overnight; they are gradual
    6 trends for which actuaries can and do make incremental adjustments.
    7        36.    As alleged above, in its annual interrogatory answers to its regulators
    8 Transamerica did not report any such adverse changes in its current expectations
    9 regarding future costs of insurance. The true reasons for the sudden and massive
   10 RD Rate Increase lay elsewhere.
   11        37.    First, since 2007 interest rates have gradually declined to historic
   12 lows, adversely impacting insurers given the interest crediting guarantees in the
   13 policies. In the late 1980s, the 10-year Treasury rate was around 9%. The trend of
   14 the 10-year Treasury was steadily downward throughout the 1990s, remaining at
   15 or above 5% until the post-2001 recession period when it pierced the 4% level for
   16 some months. Between 2003 and 2008 it fluctuated generally between 4% and
   17 5%. Since mid-2008, however, the 10-year Treasury has been under 4%, hitting a
   18 low of 1.65% in 2012.
   19        38.    In April 2012, for example, the Center for Insurance Policy &
   20 Research (“CIRP”) branch of the National Association of Insurance
   21 Commissioners published a report describing the effect on insurers of what was,
   22 even then, a prolonged period of low level interest rates. (See Exhibit “H”.) The
   23 CIRP Report warned:
   24
                     Life insurance companies face considerable interest rate risk
   25        given their investments in fixed-income securities and their unique
   26        liabilities. For life insurance companies, their assets and liabilities are
             heavily exposed to interest rate movements. Interest rate risk can
   27        materialize in various ways, impacting life insurers’ earnings, capital
   28        and reserves, liquidity and competitiveness. Moreover, the impact of

                                                 9
                                  CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 11 of 28 Page ID #:11




    1        a low interest rate environment depends on the level and type of
             guarantees offered. Much of the business currently on life insurers’
    2        books could be vulnerable to a sustained low interest rate
    3        environment ….

    4              Life insurers typically derive their profits from the spread
    5        between their portfolio earnings and what they credit as interest on
             insurance policies. During times of persistent low interest rates, life
    6        insurers’ income from investments might be insufficient to meet
    7        contractually guaranteed obligations to policyholders which cannot
             be lowered. ***
    8
    9               In a low interest rate environment, it is challenging to find
             relatively low-risk, high-yield, long-duration assets to match
   10        annuities that guarantee a minimum annual return (e.g., 4%). For
   11        many policies, low interest rates mean that some mismatch with
             assets is likely. For example, older fixed income insurance products
   12        that guarantee rates of around 6%—closely matching or conceivably
   13        even surpassing current investment portfolio yields—are likely to put
             a strain on life insurers as a result of spread compression or possibly
   14        negative interest margins.
   15 CIPR Report, at 2-3.
   16        39.    Unfortunately, the low interest rate environment has only persisted
   17 since 2012, exacerbating the spread compression and thus, as indicated by the
   18 CIPR, undermining the profitability of policies with “guarantee rates around 6%.”
   19        40.    Transamerica’s investment returns have thus been very low since the
   20 beginning of the Great Recession, and are nowhere near the returns needed to
   21 support continued interest credit to the Policies’ accumulation account at the
   22 guaranteed 5.5% effective rate. Through the MD Rate Increase, Transamerica
   23 seeks to offset or subsidize its credited interest guarantees through dramatically
   24 increased Monthly Deductions taken from the Policyholders’ accumulation
   25 accounts.
   26        41.    The MD Rate Increase is also motivated by Transamerica’s desire to
   27 make the Policies collectively more profitable by inducing more of them to lapse.
   28 When Transamerica priced and sold the Policies, it made a conscious decision to
                                               10
                                CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 12 of 28 Page ID #:12




    1 establish a Monthly Deduction Rate schedule that was designed to generate high
    2 profits in early durations followed by potential losses in later durations (known as
    3 “lapse-supported pricing”).2 After years of pocketing those profits, Transamerica
    4 now seeks to impose the draconian MD Rate Increase to recoup the losses
    5 resulting from the way it priced the rate schedule it now seeks to jettison, even
    6 though its mortality experience has only improved over the years.
    7         42.   Transamerica’s stated reason in the notice letters for the MD Rate
    8 Increase was false. As one industry commentator has put it, Transamerica is
    9 “trying to claim that mortality charges are the culprit even though you would have
   10 to be snoozing pretty heavily not to know that people are living way longer than
   11 they were 15 to 20 years ago.”3
   12         43.    Because non-guaranteed elements such as the MD Rate are required
   13 to reflect expectations of future experience, Transamerica is precluded from re-
   14 determining those elements to recoup past losses. To do so would violate the
   15 actuarial standards of practice and code of professional ethics.
   16         44.   Moreover, Transamerica knows, and fully expects, that the massive
   17 MD Rate Increase will cause thousands of Class Members to surrender their
   18 Policies and cause thousands of other Policies to lapse as the highly increased
   19 Monthly Deduction charges quickly exhaust the funds in the Policies’
   20
   21   2
       Plaintiffs make this historical reference only to illustrate Transamerica’s current
   22 motivation for the MD Rate Increase. To be abundantly clear, Plaintiffs in this
      action allege no claim premised on conduct prior to the sale of the Policies;
   23 Plaintiffs’ claims are instead exclusively premised on Transamerica’s actions in
   24 imposing the MD Rate Increase beginning in August 2015.
   25   3
         Ed Hinerman, Transamerica Life Drops a Big One in the Punch Bowl!,
   26 Hinerman Group, http://www.hinermangroup.com/blog/insurance/transamerica-
      life-drops-a-big-one-in-the-punch-bowl (last checked February 28, 2016).
   27
   28
                                               11
                                 CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 13 of 28 Page ID #:13




    1 accumulation accounts.
    2         45.   In short, through the sudden and massive MD Rate Increase,
    3 Transamerica is attempting to avoid its obligation to credit the guaranteed interest
    4 rates under the Policies, to recoup past losses and to shed the Policies by making
    5 the premiums to maintain them cost-prohibitive for the Policyholders – thereby
    6 frustrating the Policyholders’ ability to receive their contractual benefits under the
    7 Policies.
    8         46.   The Class Members hit hardest by Transamerica’s unconscionable
    9 business practice are elderly Policyholders who have dutifully paid premiums for
   10 20 years or more based on the expectation that in their twilight years the Policies
   11 would provide protection for their families. Due to age-related underwriting
   12 considerations, life insurance protection for these elderly policyholders is now
   13 either unavailable or prohibitively expensive; thus Transamerica’s actions have
   14 stripped Plaintiffs and the Class of any future life insurance protection.
   15         47.   Transamerica’s attempt to deprive Plaintiffs and the Class Members
   16 of the primary benefit of their Policies – paid for through years of contributions to
   17 the accumulation account – violates Transamerica’s express and implied
   18 obligations under the Policies, amounts to “unlawful” and “unfair” conduct under
   19 the UCL, and (in the case of the Zacharias and other Policyholders aged 65 or
   20 older) statutory elder abuse.
   21         48.   Plaintiffs therefore respectfully seek immediate necessary and
   22 appropriate legal and equitable relief to reverse the MD Rate Increase. Unless
   23 Transamerica is enjoined, the Policyholders will be irreparably damaged and
   24 Transamerica will succeed with its plan to cause mass cancellations of the Policies
   25 – leaving tens of thousands of Policyholders without coverage based on an
   26 unlawful, unfair and abusive MD Rate increase.
   27         49.   Accordingly, Plaintiffs seek damages, declaratory relief and
   28 injunctive relief requiring Transamerica to (i) reverse the unlawful increase in
                                                12
                                  CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 14 of 28 Page ID #:14




    1 Monthly Deductions charged on the Policies, and (ii) reinstate all Policies that
    2 were surrendered or lapsed as a result of the MD Rate Increase.
    3                         CLASS ACTION ALLEGATIONS
    4        50.    This action is brought by Plaintiffs individually and on behalf of the
    5 five subclasses described below (the “Classes”) pursuant to Rule 23, subdivisions
    6 (a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure.
    7        51.    Plaintiffs seek certification of the following subclasses:
    8        a.     California Subclass I: Current Policyholders
    9        All California residents who own an in-force Policy for which the
   10        Monthly Deduction increase imposed by Transamerica beginning
   11        August 1, 2015, has resulted or will result in higher Monthly
   12        Deduction charges than those applicable under the rate schedule in
   13        effect before that date.
   14        b.     California Subclass II: Surrendered Policyholders
   15        All California residents who previously owned and seek to reinstate a
   16        Policy: (i) for which the Monthly Deduction increase imposed by
   17        Transamerica beginning August 1, 2015, resulted or threatened to
   18        result in higher Monthly Deduction charges than those applicable
   19        under the rate schedule in effect before that date; and (ii) that
   20        terminated after that date.
   21        c.     California Subclass III: Senior Policyholders
   22        All California residents who were 65 years old or older and owned a
   23        Policy for which the Monthly Deduction increase imposed by
   24        Transamerica beginning August 1, 2015, has resulted or will result in
   25        higher Monthly Deduction charges than those applicable under the
   26        rate schedule in effect before that date.
   27        d.     National Subclass I: Current Policyholders
   28        All persons, other than California residents, who own a Policy for
                                                13
                                 CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 15 of 28 Page ID #:15




    1         which the Monthly Deduction increase imposed by Transamerica
    2         beginning August 1, 2015, has resulted or will result in higher
    3         Monthly Deduction charges than those applicable under the rate
    4         schedule in effect before that date.
    5         e.    National Subclass II: Surrendered Policyholders
    6         All persons, other than California residents, who previously owned
    7         and seek to reinstate a Policy: (i) for which the Monthly Deduction
    8         increase imposed by Transamerica beginning August 1, 2015,
    9         resulted or threatened to result in higher Monthly Deduction charges
   10         than those applicable under the rate schedule in effect before that
   11         date; and (ii) that terminated after that date.
   12         52.   There are thousands of members of each of the Subclasses described
   13 in the foregoing Paragraph 44. Accordingly, the Class consists of thousands of
   14 consumers of life insurance and is thus so numerous that joinder of all members is
   15 impracticable. The identities and addresses of the members of these Subclasses
   16 can be readily ascertained from business records maintained by Transamerica.
   17         53.   The claims asserted by Plaintiffs are typical of the claims of the Class
   18 Members.
   19         54.   Plaintiffs are willing and prepared to serve the Court and the
   20 proposed Class in a representative capacity. Plaintiffs will fairly and adequately
   21 protect the interests of the Class and have no interests that are adverse to, or which
   22 materially and irreconcilably conflict with, the interests of the other members of
   23 the Class.
   24         55.   The self-interests of Plaintiffs are co-extensive with and not
   25 antagonistic to those of absent Class members. Plaintiffs will undertake to
   26 represent and protect the interests of absent Class members.
   27         56.   Plaintiff has engaged the services of counsel indicated below who are
   28 experienced in complex class litigation and life insurance matters, will adequately
                                                  14
                                   CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 16 of 28 Page ID #:16




    1 prosecute this action, and will assert and protect the rights of and otherwise
    2 represent Plaintiff and absent Class members.
    3                                     Rule 23 (b)(2)
    4         57.   This action is appropriate as a class action pursuant to Rule 23 (b)(2).
    5 Plaintiffs seek injunctive relief and corresponding declaratory relief for the each
    6 of the Classes. Transamerica has acted in a manner generally applicable to each
    7 member of the entire Classes by imposing the MD Rate Increase on all Policies
    8 owned by Class Members.
    9         58.   Transamerica’s wrongful actions in unlawfully increasing the
   10 Monthly Deduction on the Policies, if not enjoined, will subject Plaintiff and Class
   11 Members to enormous continuing future harm and will cause irreparable injuries
   12 to such Policyholders, who are compelled to surrender valuable life insurance
   13 policies with no economically viable option for alternative life insurance. The
   14 adverse financial impact of Transamerica’s unlawful actions is continuing and,
   15 unless preliminarily and permanently enjoined, will continue to irreparably injure
   16 Plaintiffs and the Class Members.
   17                                     Rule 23 (b)(3)
   18         59.   This action also is appropriate as a class action pursuant to Rule 23
   19 (b)(3) of the Federal Rules of Civil Procedure.
   20         60.   Common questions of law and fact predominate over any
   21 individualized questions. Common legal and factual questions include the
   22 following:
   23         a.    Whether Transamerica’s actions in hugely and suddenly increasing
   24               the Monthly Deductions on the Policies through the MD Rate
   25               Increase are authorized under the terms of the Policies;
   26         b.    Whether Transamerica breached its contractual obligations owing to
   27               Plaintiffs and Class Members;
   28         c.    Whether Transamerica breached its implied duty of good faith and
                                                15
                                 CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 17 of 28 Page ID #:17




    1               fair dealing owed to Plaintiffs and the Class Members;
    2         d.    Whether Transamerica has engaged in unfair or unlawful business
    3               practices in its dealings with Plaintiffs and the Class Members;
    4         e.    Whether Transamerica has engaged in the financial abuse of elders,
    5               within the meaning of California’s Elder Abuse Statute;
    6         f.    Whether Plaintiffs and the Class Members have been damaged, and if
    7               so, are eligible for and entitled to compensatory and punitive
    8               damages;
    9         g.    Whether Plaintiffs and the Class Members are entitled to declaratory
   10               relief; and
   11         h.    Whether Plaintiffs and the Class Members are entitled to preliminary
   12               and permanent injunctive relief, or other equitable relief, against
   13               Transamerica.
   14         61.   A class action is superior to other available methods for the fair and
   15 efficient adjudication of this controversy, for at least the following reasons:
   16         a.    Given the age of the Class Members, many of whom are elderly and
   17               have limited resources, the complexity of the issues involved in this
   18               action and the expense of litigating the claims, few, if any, Class
   19               Members could afford to seek legal redress individually for the
   20               wrongs that Transamerica has committed against them, and absent
   21               Class Members have no substantial interest in individually
   22               controlling the prosecution of individual actions;
   23         b.    Once Transamerica’s liability has been adjudicated respecting the
   24               MD Rate Increase, claims of all Class Members can be determined
   25               by the Court;
   26         c.    This action will insure an orderly and expeditious administration of
   27               the class claims and foster economies of time, effort and expense, and
   28               ensure uniformity of decisions and compliance by Transamerica with
                                                16
                                  CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 18 of 28 Page ID #:18




    1                the Policies;
    2          d.    Without a class action, many Class Members would continue to
    3                suffer injury, and Transamerica’s violations of law will continue
    4                without redress while Transamerica continues to reap and retain the
    5                substantial proceeds and reductions in its future liabilities derived
    6                from its wrongful conduct; and
    7          e.    This action does not present any undue difficulties that would impede
    8                its management by the Court as a class action.
    9          62.   A class action is thus superior to other available means for the fair
   10 and efficient adjudication of this controversy. The injuries suffered by individual
   11 Class members are, while important to them, relatively small compared to the
   12 burden and expense of individual prosecution of the complex and extensive
   13 litigation needed to address Transamerica’s conduct. Individualized litigation
   14 presents a potential for inconsistent or contradictory judgments. By contrast, a
   15 class action presents far fewer management difficulties; allows the hearing of
   16 claims that might otherwise go unaddressed; and provides the benefits of single
   17 adjudication, economies of scale, and comprehensive supervision by a single
   18 court.
   19                                FIRST CAUSE OF ACTION
   20                           (Breach of Contract – All Classes)
   21          63.   Plaintiffs refer to the prior paragraphs of this Complaint and
   22 incorporate those paragraphs as though set forth in full in this cause of action.
   23          64.   The Policies are valid, enforceable contracts between Plaintiffs and
   24 the Class Members and Transamerica.
   25          65.   At all relevant times, Plaintiffs and the Class Members have paid
   26 premiums to Transamerica through Monthly Deduction charges under the Policies
   27 as established at the inception of the Policies and have otherwise performed all
   28 their obligations under the Policies.
                                                17
                                     CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 19 of 28 Page ID #:19




    1         66.   As alleged above, Transamerica owed duties and obligations to
    2 Plaintiffs and the Class Members under the Policies, including, but not limited to,
    3 refraining from imposing Monthly Deduction charges except as authorized under
    4 the terms of the Policies.
    5         67.   Transamerica materially breached the terms and provisions of the
    6 Policies by increasing the Monthly Deductions effective August 1, 2015, through
    7 the MD Rate Increase, for reasons not permitted by the Policies; that is, in order to
    8 reduce its credited interest obligations to Plaintiffs and the Class and to recoup
    9 past losses, by dramatically depleting the Policyholders’ accumulation accounts
   10 and forcing mass lapses and surrenders of Policies.
   11         68.   At a minimum, the MD Rate Increase is of such a magnitude that,
   12 even if legitimate cost of insurance increases were a factor, Transamerica
   13 necessarily considered impermissible factors other than the cost of insurance in
   14 setting the level of the MD Rate Increase.
   15         69.   Transamerica’s conduct and material breaches of the Policies have
   16 proximately caused damages to Plaintiffs and the Class Members in an amount to
   17 be determined at trial.
   18         70.   In addition, unless Transamerica is preliminarily and permanently
   19 enjoined from continuing to deduct the unlawfully increased Monthly Deduction
   20 charges, Plaintiffs and the Class Members will suffer severe and irreparable
   21 injuries for which they have no adequate remedy at law.
   22                           SECOND CAUSE OF ACTION
   23      (Contract Breach of the Implied Covenant of Good Faith and Fair Dealing
   24                               – California Classes Only)
   25         71.   Plaintiffs refer to the prior paragraphs of this Complaint and
   26 incorporate those paragraphs as though set forth in full in this cause of action.
   27         72.   The Policies are valid, enforceable contracts between Transamerica
   28 and Plaintiffs or the Class Members.
                                                18
                                   CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 20 of 28 Page ID #:20




    1         73.     Implied in the Policies are contractual covenants of good faith and
    2 fair dealing through which Transamerica owed Plaintiffs and the Class Members a
    3 duty to act in a manner that did not frustrate their reasonable expectations under
    4 the Policies.
    5         74.     Transamerica contractually breached the covenant of good faith and
    6 fair dealing because, to the extent Transamerica had the discretion to increase the
    7 Monthly Deduction, that discretion was sufficiently constrained under the terms of
    8 Policies to support an implied obligation of good faith and fair dealing with
    9 respect to the MD Rate Increase.
   10         75.      Transamerica’s contractual breach of the covenant of good faith and
   11 fair dealing has proximately caused damages to Plaintiffs and the Class Members
   12 in an amount to be determined at the time of trial.
   13         76.     In addition, unless Transamerica is preliminarily and permanently
   14 enjoined from continuing to deduct the unlawfully increased Monthly Deduction
   15 charges, Plaintiffs and the Class Members will suffer severe and irreparable
   16 injuries for which they have no adequate remedy at law.
   17                             THIRD CAUSE OF ACTION
   18               (Tortious Breach of the Duty of Good Faith and Fair Dealing
   19                               – California Classes Only)
   20         77.     Plaintiffs refer to the prior paragraphs of this Complaint and
   21 incorporate those paragraphs as though set forth in full in this cause of action.
   22         78.     The Policies are valid, enforceable contracts between Transamerica
   23 and Plaintiffs or the Class Members.
   24         79.     Life insurance policies, like those owned by Plaintiffs and the Class
   25 Members, protect them from the economic harm and risk presented by death. As
   26 is the case with most insurance contracts, the financial interests of Transamerica
   27 and the Policyholders are directly at odds: Transamerica benefits from increasing
   28 the charges to the Policyholders and the Policyholders are harmed by such
                                                19
                                   CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 21 of 28 Page ID #:21




    1 increases. As explained above, Transamerica in particular benefits if Plaintiffs and
    2 the Class Members are forced to forfeit the Policies because of its increases of the
    3 Monthly Deduction because it will have obtained premium payments without
    4 having to pay the death benefits or the promised credited interest rates.
    5         80.   For these reasons, Transamerica owes Plaintiffs and the Class
    6 Members a heightened duty of good faith and fair dealing. Among other things,
    7 Transamerica is required to refrain from doing anything to injure their right to
    8 receive the benefits of the Policies. Transamerica is required to give at least as
    9 much consideration to the welfare of the Policyholders as it gives to its own
   10 interests. Furthermore, Transamerica has a duty to reasonably inform Plaintiff and
   11 the Class Members of their rights and obligations under the Policies.
   12         81.   As alleged above, Transamerica has breached these duties in
   13 connection with the MD Rate Increase, frustrating the reasonable expectations of
   14 Plaintiffs and the Class Members under the Policies and tortiously depriving them
   15 of benefits under the Policies.          In increasing the Monthly Deduction,
   16 Transamerica did not give proper consideration to the welfare of Plaintiffs and the
   17 Class Members and served solely its own interests at their expense. In addition,
   18 Transamerica has failed to truthfully, let alone reasonably, disclose or describe its
   19 course of conduct, or the basis and reasons for its course of conduct.
   20         82.   Transamerica’s forgoing alleged acts and omissions were and are
   21 unreasonable and without proper cause. If left unabated, Transamerica’s conduct
   22 will frustrate and deprive Plaintiffs and the Class Members of the reasonably
   23 expected benefits of the Policies.
   24         83.   Transamerica has in particular improperly withheld benefits due
   25 Plaintiffs and the Class Members under the Policies, because the unlawful
   26 increase in the Monthly Deduction has both (a) reduced the value of their
   27 accumulation account, and (b) reduced the amount of interest credited on their
   28 accumulation accounts.
                                                20
                                 CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 22 of 28 Page ID #:22




    1         84.     Transamerica’s tortious breaches of the covenant of good faith and
    2 fair dealing have proximately caused damages to Plaintiffs and the Class Members
    3 in an amount to be determined at the time of trial.
    4         85.   Transamerica’s conduct was intentional and deliberate and
    5 constitutes oppression, fraud, or malice. Plaintiffs and the Class Members are
    6 entitled to recover punitive and exemplary damages in an amount to be
    7 determined by the trier of fact.          Plaintiffs also seek an order requiring
    8 Transamerica to disgorge all that it received in connection with the above-
    9 referenced wrongful acts and omissions.
   10         86.   In addition, unless Transamerica is preliminarily and permanently
   11 enjoined from continuing to deduct the unlawfully increased Monthly Deduction
   12 charges, Plaintiffs and Class Members will suffer severe and irreparable injuries
   13 for which they have no adequate remedy at law.
   14                           FOURTH CAUSE OF ACTION
   15                 (Injunctive and Restitutionary Relief Pursuant to UCL
   16                               – California Classes Only)
   17         87.   Plaintiffs refer to the prior paragraphs of this Complaint and
   18 incorporate those paragraphs as though set forth in full in this cause of action.
   19         88.   Transamerica committed acts of unfair competition by engaging in
   20 the following practices, among others:
   21         a.    Marketing and selling the Policies on the premise that they were a
   22               solid and good life insurance product that would provide a certain
   23               death benefit for a certain cost and duration and subsequently taking
   24               steps to prevent Policyholders from receiving the promised benefits
   25               from those Policies by suddenly, massively, and unlawfully
   26               increasing the cost of the Policies through the MD Rate Increase.
   27         b.    Imposing the MD Rate Increase even though Transamerica’s
   28               expected future mortality has improved and is better than the
                                                21
                                  CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 23 of 28 Page ID #:23




    1              mortality upon which the original MD Rate schedule is based -- in
    2              order to increase premiums, recoup past losses, and/or force its
    3              insureds to surrender (cancel) their Policies, all of which was, and is,
    4              contrary to, and precluded by, the express terms of the Policies.
    5              Thus, the Monthly Deduction charges were increased effective
    6              August 1, 2015, so that Transamerica could reduce the size of an
    7              unprofitable block of life insurance policies, to eliminate long-
    8              anticipated losses on the Policies, and to cause many of the
    9              Policyholders to surrender their Policies. Transamerica breached its
   10              duties under the Policies by improperly increasing the Monthly
   11              Deduction charges in order to recoup past losses and gain or retain an
   12              unfair competitive advantage over other life insurers.
   13        c.    After the sale of the Policies, continuing to send annual reports,
   14              policy servicing statements, illustrations and other documents and
   15              correspondence to Plaintiffs and the Class Members without
   16              disclosing that there would be sudden, dramatic, and cost-prohibitive
   17              increases in the Monthly Deduction charges effective August 1,
   18              2015.
   19        d.    Failing to provide any meaningful advance warning that it intended
   20              to massively and suddenly increase the Monthly Deduction charges
   21              effective August 1, 2015, through the MD Rate Increase.
   22        e.    Ultimately providing a false and misleading explanation to Plaintiffs
   23              and the Class Members of the grounds for the MB Rate Increase.
   24        89.   A claim under the UCL’s “unlawful” prong can be predicated on any
   25 business practice “forbidden by law, be it civil or criminal, federal, state, or
   26 municipal, statutory, regulatory, or court made.” Agarwal v. Pomona Valley Med.
   27 Grp. Inc., 476 F.3d 665, 674 (9th Cir. 2007).           Transamerica violated the
   28 “unlawful” prong through its alleged misconduct, including the tortious breach of
                                               22
                                CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 24 of 28 Page ID #:24




    1 the implied obligation of good faith and fair dealing as alleged above.
    2         90.   A claim under the UCL’s “unfair” prong is predicated on a “business
    3 practice” that “violates established public policy” or is “immoral, unethical,
    4 oppressive or unscrupulous and causes injury to consumers which outweighs its
    5 benefits.” (Eisen v. Porsche Cars North America, Inc., 2012 WL 841019, *5 (C.D.
    6 Cal. Feb. 22, 2012) (citing McKell v. Washington Mut., Inc., 142 Cal. App. 4th
    7 1457, 1473 (2006).) Transamerica violated the “unfair” prong by excessively
    8 raising the Monthly Deduction and the Monthly Deduction Rates for reasons not
    9 authorized under the Policies, unfairly shifting to the Plaintiffs and the Class
   10 Members (a) losses suffered by Transamerica when the Policies ceased to be as
   11 profitable as Transamerica had hoped based on its original (but mistaken) pricing
   12 assumptions, and (b) Transamerica’s cost of meeting its obligations to pay
   13 credited interest at the 4% annual and 5.5% effective guaranteed rates.
   14         91.   Plaintiffs are informed and believe and on that basis allege that the
   15 “unfair” and “unlawful” practices alleged above are continuing in nature and they
   16 are widespread practices engaged in by Transamerica.
   17         92.   On behalf of the general public and the Classes, Plaintiffs
   18 respectfully requests that the Court issue an injunction against Transamerica
   19 preliminarily and permanently enjoining it (i) from continuing to engage in the
   20 unlawful and unfair conduct and preventing Transamerica from collecting the
   21 unlawfully and unfairly increased Monthly Deduction charges in violation of the
   22 Policies and (ii) ordering any Policy to be reinstated that lapsed or terminated as a
   23 result of the MD Rate Increase.
   24         93.   On behalf of the general public and the Classes, Plaintiffs
   25 furthermore respectfully requests that this Court order restitution to be paid by
   26 Transamerica to the Classes for Monthly Deduction charges, premiums and other
   27 amounts wrongfully required, obtained and collected as the result of the MD Rate
   28 Increase in violation of the Policies.
                                                23
                                 CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 25 of 28 Page ID #:25




    1         94.   Plaintiffs respectfully request an award of attorneys’ fees as the
    2 prevailing party in his request for injunctive relief and restitutionary relief against
    3 Transamerica on behalf of themselves and the Class Members.
    4                             FIFTH CAUSE OF ACTION
    5                         (For Declaratory Relief – All Classes)
    6         95.   Plaintiffs refer to the prior paragraphs of this Complaint and
    7 incorporate those paragraphs as though set forth in full in this cause of action.
    8         96.   An actual controversy has arisen and now exists between Plaintiffs
    9 and the Class Members, on the one hand, and Transamerica, on the other hand,
   10 concerning the respective rights and duties of the parties under the Policies.
   11         97.   Transamerica contends that it lawfully and appropriately increased
   12 the Monthly Deductions respecting the Policies effective August 1, 2015, through
   13 the MD Rate Increase, has appropriately collected (and is still collecting) Monthly
   14 Deduction charges based on the elevated Monthly Deduction Rates, and that it is
   15 permitted to continue to collect these Monthly Deduction charges in the future for
   16 the duration of the Policies. On the other hand, Plaintiffs and the Class Members
   17 maintain that Transamerica, effective August 1, 2015, through the MD Rate
   18 Increase, has inappropriately and unlawfully, in material breach of the express and
   19 implied terms of the Policies, collected inflated Monthly Deduction charges based
   20 on the MD Rate Increase.
   21         98.    Plaintiffs, for themselves and on behalf of the Classes, seeks a
   22 declaration as to the parties’ respective rights under the Policies and requests the
   23 Court to declare that the MD Rate Increase is unlawful and in material breach of
   24 the Policies so that future controversies under the Policies may be avoided.
   25                            SIXTH CAUSE OF ACTION
   26                     (For Elder Abuse – California Class III Only)
   27         99.   Plaintiffs refer to the prior paragraphs of this Complaint and
   28 incorporate those paragraphs as though set forth in full in this cause of action.
                                                24
                                  CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 26 of 28 Page ID #:26




    1         100. This cause of action is brought under California's Welfare and
    2 Institutions Code section 15610, et seq.
    3         101. Plaintiffs George and Margaret Zacharia and each member of
    4 California Class III were ages 65 or older at all times relevant to this claim.
    5         102. Transamerica, by seeking to impose the MD Rate Increase took,
    6 depleted, appropriated and/or retained the Zacharias’ and the Class Members’
    7 personal property in bad faith for a wrongful use and/or with intent to defraud,
    8 which constitutes financial abuse as defined in Cal. Wel. & Inst. Code section
    9 15610.30.
   10         103. Transamerica is guilty of oppression, fraud, and malice in the
   11 commission of the above-described acts of abuse. At a minimum, Transamerica
   12 knew or should have known that its conduct was likely to be harmful to elders.
   13         104. Under Cal. Civ. Code section 3294 Transamerica is liable to the
   14 Zacharias and the Class Members for punitive damages.
   15         105. Under Cal. Wel. & Inst. Code section 15657.5 Transamerica is liable
   16 to Zacharia and the Class Members for reasonable attorney fees and costs.
   17                               PRAYER FOR RELIEF
   18         WHEREFORE, Plaintiffs, individually and on behalf of the Class, pray for
   19 relief as follows as applicable for the particular cause of action:
   20         1.     An Order certifying this action to proceed on behalf of the Class,
   21 including the Subclasses, and appointing Plaintiffs and the counsel listed below to
   22 represent the Class;
   23         2.     An Order awarding Plaintiffs and the Class Members entitled to such
   24 relief restitution and/or disgorgement and such other equitable relief as the Court
   25 deems proper;
   26
              3.     An Order enjoining Transamerica, its representatives, and all others
   27
        acting with it or on its behalf, (a) from using Monthly Deduction Rates based on
   28
                                                 25
                                  CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 27 of 28 Page ID #:27




    1 the MD Rate Increase and (b) from unlawfully charging excessive Monthly
    2 Deduction Rates for the Policies and requiring those rates to be at levels that are
    3 consistent with the terms of the policies, and other appropriate injunctive relief;
    4         4.    An Order providing preliminary and permanent injunctive relief
    5 requiring Transamerica, its representatives, and all others acting with it or on its
    6 behalf to reinstate any Class Member whose Policy was cancelled or surrendered
    7 as a result of the MD Rate Increase;
    8         5.    An Order providing a declaration that the MD Rate Increase
    9 materially breaches the Policies, and that Transamerica must determine the
   10 Monthly Deduction Rates only on the grounds authorized under the Policies;
   11         6.    An Order awarding Plaintiffs and the Subclass Members who might
   12 be entitled to such relief actual, compensatory, statutory, punitive, and/or
   13 exemplary damages;
   14         7.    An Order awarding Plaintiffs’ attorneys’ fees, expert witness fees and
   15 other costs pursuant to the state statutory causes of action set forth above that
   16 permit such an award; and
   17
              8.    An Order awarding such other and further relief as may be just and
   18
        proper, including pre-judgment and post-judgment interest on the above amounts.
   19
                                  DEMAND FOR JURY TRIAL
   20
              Plaintiffs demand a jury trial.
   21
   22 Dated: February 28, 2016.
   23                                           CONSUMER WATCHDOG
   24
                                                By: /s/Harvey Rosenfield
   25                                                Harvey Rosenfield (SBN: 123082)
   26                                                Jerry Flanagan (SBN: 271272)
                                                     2701 Ocean Park Blvd., Suite 112
   27                                                Santa Monica, CA 90405
   28                                                Tel: (310) 392-0522
                                                 26
                                  CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 1 Filed 02/28/16 Page 28 of 28 Page ID #:28




    1                                           Fax: (310) 392-8874
                                                Harvey@consumerwatchdog.org
    2                                           jerry@consumerwatchdog.org
    3
                                                BONNETT, FAIRBOURN,
    4                                           FRIEDMAN & BALINT, PC
    5                                           Andrew S. Friedman
                                                (to be admitted Pro Hac Vice)
    6                                           Francis J. Balint, Jr.
    7                                           (to be admitted Pro Hac Vice)
                                                2325 East Camelback Road,
    8                                           Suite 300
    9                                           Phoenix, Arizona 85016
                                                Tel: 602-274-1100
   10                                           Fax: 602-274-1199
   11                                           afriedman@bffb.com
                                                fbalint@bffb.com
   12
   13                                           SHERNOFF BIDART
                                                ECHEVERRIA BENTLEY LLP
   14                                           William M. Shernoff (SBN: 38856)
   15                                           Travis M. Corby (SBN: 268633)
                                                301 N. Cañon Drive, Suite 200
   16                                           Beverly Hills, CA 90210
   17                                           Telephone: (310) 246-0503
                                                Facsimile: (310) 246-0380
   18                                           wshernoff@shernoff.com
   19                                           tcorby@shernoff.com
   20                                           Attorneys for Plaintiffs and the
   21                                           Classes
   22
   23
   24
   25
   26
   27
   28
                                           27
                               CLASS ACTION COMPLAINT
